     Case 2:19-cv-13966-BWA-MBN Document 164 Filed 10/11/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 SIERRA CLUB et al.,
                                Plaintiffs,        CIVIL ACTION
                v.
                                                   No.:            19-cv-13966-BWA-MBN
 KEVIN M. SLIGH, SR., in his official
 capacity as DIRECTOR of the BUREAU OF             Section:        M
 SAFETY AND ENVIRONMENTAL
 ENFORCEMENT et al.,                               Judge:          Hon. Barry Ashe

                                Defendants,        Magistrate:     Hon. Michael North

                                &

 AMERICAN PETROLEUM INSTITUTE,

                        Intervenor-Defendant.


                           JOINT STIPULATION OF DISMISSAL

       The Parties, by and through their undersigned counsel, hereby agree to dismiss this case

without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The Parties further

stipulate and agree that each party shall bear its own costs and attorneys’ fees.

       Respectfully submitted this 11th day of October, 2023.

 /s/ Joel R. Waltzer                                /s/ Corinne Van Dalen
 Joel R. Waltzer (La. Bar No. 19268)                Corinne Van Dalen (La. Bar No. 21175)
 Waltzer, Wiygul & Garside, LLC                     Earthjustice
 3201 General DeGaulle Drive                        900 Camp Street, Unit 303
 New Orleans, LA 70114                              New Orleans, LA 70130
 T: 504-340-6300 F: 504-340-6330                    T: 415-283-2335 F: 415-217-2040
 joel@waltzerlaw.com                                cvandalen@earthjustice.org

 Counsel for Plaintiffs Sierra Club, Natural        /s/ Brettny Hardy
 Resources Defense Council, Healthy Gulf,           Brettny Hardy (pro hac vice)
 North Carolina Coastal Federation, and South       Earthjustice
 Carolina Coastal Conservation League               50 California Street, Suite 500
                                                    San Francisco, CA 94111
                                                    T: 415-217-2000 F: 415-217-2040
                                                    bhardy@earthjustice.org
    Case 2:19-cv-13966-BWA-MBN Document 164 Filed 10/11/23 Page 2 of 2




/s/ Devorah Ancel                                    /s/ Christopher Eaton
Devorah Ancel (pro hac vice)                         Christopher Eaton (pro hac vice)
Sierra Club                                          Earthjustice
6406 North IH-35, Suite 1806                         810 Third Avenue, Suite 610
Austin, TX 78752                                     Seattle, WA 98104
T: 415-845-7847 F: 510-208-3140                      T: 206-343-7340 F: 206-343-1526
devorah.ancel@sierraclub.org                         ceaton@earthjustice.org

Counsel for Plaintiffs Sierra Club and Healthy       Counsel for Plaintiffs Healthy Gulf, Center for
Gulf                                                 Biological Diversity, Defenders of Wildlife, and
                                                     Friends of the Earth

/s/ David Pettit                                     /s/ Catherine Wannamaker
David Pettit (pro hac vice)                          Catherine Wannamaker (pro hac vice)
Natural Resources Defense Council                    Southern Environmental Law Center
1314 2nd Street                                      463 King Street, Suite B
Santa Monica, CA 90401                               Charleston, SC 29403
T: 310-434-2300 F: 888-875-6868                      T: 843-720-5270 F: 843-414-7039
dpettit@nrdc.org                                     cwannamaker@selcsc.org

Counsel for Plaintiff Natural Resources              Counsel for Plaintiffs North Carolina Coastal
Defense Council                                      Federation and South Carolina Coastal
                                                     Conservation League

TODD KIM                                             /s/ Alida C. Hainkel
Assistant Attorney General                           Alida C. Hainkel (La. Bar No. 24114)
                                                     Jonathan A. Hunter (La. Bar No. 18619)
/s/ Michael S. Sawyer                                Sarah Y. Dicharry (La. Bar No. 34514)
Michael S. Sawyer (DC Bar No. 1009040)               Jones Walker LLP
Senior Trial Attorney                                201 St. Charles Avenue, Suite 5100
Natural Resources Section                            New Orleans, LA 70170
Environment & Natural Resources Division             T: 504-582-8000 F: 504-582-8583
United States Department of Justice                  ahainkel@joneswalker.com
P.O. Box 7611                                        jhunter@joneswalker.com
Washington, DC 20044                                 sdicharry@joneswalker.com
T: 202-514-5273 F: 202-305-0275
michael.sawyer@usdoj.gov                             Counsel for Intervenor-Defendant American
                                                     Petroleum Institute
Counsel for Federal Defendants




                                                 2
